CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Entered 12/13/18 09216244

 

 

 

 

 

j ill in this information to identify your case: U 8 BAF'L(CLERK.
Deblor1 GHDKNVMB Jm/D Q/\;¢H _ EASTE]R_H D!STRY (;OURT
FirstName Midd|e Name LaslName P"t ly"/ YORH OF
(Dsigfic;,zifiling) FirslName Middie Name LaslName 2318 UEC l 2 A -
Uniled States Bankruptcy Court for the: MN Distrlct of N@° `/S'KLL h q' 3 5 -‘
Case number l'/ \ g/ thqu `/ Q/S> ind ’§';," ,r'¢; ;~u QheCK if this iS an
D;Lmii_i_,u, i./):.»== .
lifknown) ~»’ L_. fl W§nq§ filing

Officia| Form 1068um .
Summary of Your Assets and Liabi|ities and Certain Statistical lnformation 12/15
Be as complete and accurate as possib|e. |f two married people are filing together, both are equally responsible for supplying correct

information. Fi|l out all of your schedules first; then complete the information on this form. |f you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 

im Summarize Your Assets

Your assets
Value of what you own
1. Schedule A/B.' Propeity (Oflicial Form 106AlB)

 

5
1a. Copy line 55, Total real estate, from Schedule A/B .......................................................................................................... $ w
1b. Copy line 62, Total personal property, from Schedu/e A/B ............................................................................................... $ :S l &J§’S-d
1c. Copy line 63, Total of all property on Schedule A/B ......................................................................................................... $ W| 633 . 5b

 

 

 

 

fmmmarize Your Liabi|ities

Your liabilities
Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D) 8? -
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............ $ U
3. Scheduie E/i=_- creditors Who Have Unsecured claims (ofnciai Form 1065/F) /©/
3a Copy the total claims from Part 1 (priority unsecured claims) from line Ge of Schedule E/F ............................................ $
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ....................................... + $ _S/

 

Yourtota| liabilities $ l&;l ZSE

 

 

 

'm:ummarize Your lncome and Expenses

4. Schedule I.' Yourlncome Official Form 1061 l -
. ( _ .) $ 6, 683 'S‘+
Copy your combined monthly income from line 12 of Schedule l ..........................................................................................

5. Schedule J_- Your Expenses (Oflicial Form 106J) l l 16_ ['q/
Copy your monthly expenses from line 22c of Schedule J .................................................................................................... $ __,;_

 

 

Off`icial Form 1063um Summary of Your Assets and Liabi|ities and Certain Statistical |nformation page 1 of 2_

 

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Entered 12/13/18 09216244

Debtor 1 CPWKWVMA hub - WH Case number (irknawni l " FQ'_ L['G:f’q + _'&98

First Name Middle Name Last Name

m Answer These Questions for Administrative and Statistical Records

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

;§/l\m. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules
Yes

 

7. What kind of debt do you have?

n Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fil| out lines 8-99 for statistical purposes. 28 U.S.C. § 159.

jz/Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules

 

 

B. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Ofticial ' ,_%
Form122A-1 Line11;oR, Form 1223 Line 11; oR, Form 1220-1 Line14. $ 619&(1°<>

 

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:
Total claim

From Part 4 on Schedule E/F, copy the following:

9f. Debts' to pension or proHt-sharing plans, and other similar debts. (Copy line 6h.) '*' $

 

Qa. Domestic support obligations (Copy line 6a.) $__’@/_
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $
9e. Claims for death or personal injury while you were intoxicated (Copy line 6c.) $_E
Qd. Student loans. (Copy line 6f.) $_
9e. Obligations arising out of a separation agreement or divorce that you did not report as $ /©

priority claims. (Copy line Sg.) __

/®/'

99. Tota|. Add lines 9a through 9f. $ '

 

 

 

 

 

 

Ochial Form 1068um Summary of Your Assets and Liabi|ities and Certain Statistical |nformation page 2 of 2

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Entered 12/13/18 09216244

ill in this information to identify your case and this filing:

    

 

 

Debtor1 Cvl'\\\l"~vwwl& j l\NO OlL_-'H'
First Name Mlddle Name Last Name

Debtor 2

(Spouse, if Hling) Firsc Name Midure name Last Name

United States Bankruptcy Court for the: &§(GKN Dlstri_ct of fig/a vega

Casenumber ." lB‘q-€>('"gq~'* G_SS
El check ifthis is an
amended filing

 

Official Form 106A/B
Schedule AlB: Property 12/15

|n each category, separately list and describe items. List an asset only once. |f an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possib|e. lf two married people are filing together, both are equally
responsible for supplying correct information. |f more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

 

l im Describe Each Residence, Building, Land, or Other Real Estate You 0wn or Have an lnterest ln

 

' 1. Do you own or have any legal or equitable interest in any residence, building, land,`or similar property?

El No. co to Part 2.
g Yes. Where is the property? _
vuvhat is the property? Check all that apply' `Do not deduct secured claims or exemptions Put
_ / Single-fami|y home the’amount of any secured'claims on Schec_lule D:
1 1 271 9’2_ MeN M ` . . . . Credito/s Who Have Claims Secured by Property.
' ' . . _ _ n Duplex or mu|tr-unrt building _
Street address, rf available, or other descnptron

cl C°nd°mi"ium °" cooperative Current value of the Current value of the :
n Manufactured or mobile home entire property? portion you own?

_ m Land $ W@ ,19'0 3 $
é£o$&L\/N N \/ 1053 El lnvestment property

a Timeshare

 

 

Describe the nature of your ownership

 

 

 

 

wore i"'i<€> 155 Fefl€d’r ;:;e;zii,;ii:;: ::;iif:;";:';:.;,t‘:¢:::t:¥
_ Who has an interest in the property? Check one. MK N : ,
§ ' l('[&e\j dDebtoM only
f County n Debtor 2 only
m Debtom and Demor 2 amy n Check if this is community property

see ' ructions
n At least one of the debtors and another ( inst )

Other information you wish to add about this item, such as local
property identification number: l

 

lf you own or have more than onel list here:

 

 

 

 

 

 

 

_ What is the property? Check all that app|y' Do not deduct secured vclai_m`s or exemptions. Put :
N( _ " n Single-family home the amount of any secured claims on Schedule D: ' '
1_2_ _ ' _ _ m Dup|ex or muni_unit building Creditors Who Have Claims Secured by Property. `
Street address, rf avarldble, or other descnptron _ _ _ . ss .:
m COndOmln\Um Ol' OOOPBFSUV@ Current value of the Current value of the 11
m Manufactured or mobile home entire property? portion you own?
n Land $ $
n lnvestment property
( . Describe the nature of your ownership
j ' City State Z|P Code n T'meshare interest (such as fee simple, tenancy by
\ n Other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
n Debtor1 only
C°unty n Debtor 2 only
l n Debtor1 and Debtor`2 only n Check if this is community property
1 n At least one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

Official Form 106A/B v Schedu|e AIB: Property page 1

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Entei’ed 12/13/18 09216244

\

Debtor1 C.i““'l.\l\h“)m9 j m'i\`/ M<H Case number iirimowiri |" i g" if é:t'ql!i" ’ G~S_S

 

 

 

 

 

 

 

 

 

 

 

 

First Name Middle Name LastName
_ What is the Pl'°Pe"ty? Check aii that aPPiy- Do not deduct secured claims or exemptions Put
M , n Sing|e_famny home the amount of any secured claims on Schedule D:
1.3. _ . _ _ _ Creditors Who Have Claims Secured by Property.
Street address, if available or other description m Duplex or multi-unit building
m Condominium cr cooperative N / Current value of the Current value of the
n Manufactured or mobile home hi entire property? portion you own?
n Land $ $
m lnvestment property
City State z|P Code n Timeshare Describe the nature of your ownership
n interest (such as fee simp|e, tenancy by
Other the entireties, or a life estate), if known.
j Who has an interest in the property? Check one.
i;l Debtor1 only
county n Debtor 2 only
m Debtor1 and Debtor 2 only n Che§k if thi§ is community Property
n At least one of the debtors and another (See instructions)
Other information you wish to add about this item, such as local
property identification number:
2. Add the dollar value of the portion you own for all of your entries from Part1, including any entries for pages $ 253 QA 5
you have attached for Part 1. Write that number here. /@/ .......................................... -)

 

 

 

w Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? lnc|ude any vehicles
z you own that someone else drives. lf y_ou lease a vehicle, also report it on Schedu/e G.' Executory Contracts and Unexpired Leases.

1 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

 

.Z No
i:l Yes
3_1_ N|ake; . Wh° has an interest in the Pr°Pei'tY? Check °ne- Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedu/e D.'
l\/|ode|Z g Debtor 1 Oniy Creditors Who Have Claims Secured by Property.
Debtor 2 only , ..
Year:
m Debtor1 and Debtor 2 only g:t';::mr‘;ai::t;°f the c:rr_trli':lt V::lu:“?:;he
Approximaie miieage: ___ m At least one of the debtors and another p p i p y i
Other information:
n Check if this is community property (see $ $
instructions)

 

 

 

lf you own or have more than one, describ here:

 

 

3_2_ Make: Wh° has an interest in the property? Check °ne~ Do not deduct secured claims or exemptions. Put
a D m 1 l the amount of any secured claims on Schedu/e D.'
Model.' e Or an y Credi'tors Who Have Claims Secured by Property.
cl Debtor 2 only '~ ~
Year: n Debtor 1 and Debtor 2 only Current value of the Current value of the
- - . entire property? portion you own?
Appr°x'mate miieage~ _ cl At least one of the debtors and another
Other information:
El Check if this is community property (see $ $

 

instructions)

 

 

 

Ochial Form 106A/B Schedule A/B: Property page 2

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Entered 12/13/18 09216244

 

 

   

 

 

 

 

 

 

 

 

 

 

Debtor1 CMMM J Wi‘O ©M Case number (iri<mwni id L% v 4 e:rq Lr/` '- egg
Flrst Name Middle Name Last Name _
3_3_ |Vlake: i`L k Wn° has an interest in the Property? Check °rie- ljo not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.
Mode|: g Debt°r 1 only Cre`ditors Vl/ho Have Claims Secured by Property
Debtor2 only ~~ = ~»- -- ~- _~i--
Yea“ Ei Debtor1 and Debrorzonry §:trl;;"fr\;a';'§;?ffhe C:rrt';';lfv;']"§vg;;he
Appr°ximaie mileage n At least one of the debtors and another p p p y
Other information: ~
m Check if this is community property (see $ $
instructions)
3,4, |V|ake; l § l k Wn° has an interest in the Property? Check °ne- Do not deduct secured claims or exemptionsl Put
n Deth 1 l the amount of any secured claims on Schedule D:
Model: n ii on y Creditors Who Have Claims Secured by Property.
Debtor2only ¢M = ~» ~ -
Year:
n Debtor1 and Debtor 2 only grl:tl;:¢;ntr\;a|;et;; the ::lrtri:rl\`t v::|u§v`c'>rfi‘;he v
Approximaie miieagei l:l At least one of the debtors and another p p y
Other information:
El Check if this is community property (see $ $

instructions)

 

 

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples.' Boats, trailers, motors, personal watercraft, fishing vessels, snowmobilesl motorcycle accessories

,iero
i\i

n Yes

4_1, l\/|ake: Wn° has an interest in the Property? Check °ne~ Do not deduct secured claims or exemptions Put
n D bt 1 l the amount of any secured claims on Schedule D.'

Modelt e or On y Credi'tors Who Have Claims Secured by Property.

cl Debtor 2 only

Year:
n Debtor1 and Debtor 2 only

Current value of the Current value of the

 

 

 

Other information: m At least one of the debtors and another entire property? portion you own?
El Check if this is community property (see $ $
instructions)

 

 

 

lf you own or have more than one, li t here:

 

4_2_ l\/lake: Wn° has an interest in the Property? Check °ne~ Do not deduct secured claims or exemptions Put
n D bt 1 l the amount of any secured claims on Schedule D.'
l\/|odel: e O'i on y Credi'tors Who Have Claims Secured by Property.
n Debtor2 On|y t Qt.~,¢{t,... ..~¢ s s eat -
Year: Current value of the Current value of the t

m Debtor1 and Debtor 2 only

entire property? portion you own?
n At least one of the debtors and another

Other information:

 

a Check if this is community property (see
instructions)

 

 

 

 

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here ........ 9

 

 

Ofticial Form 106A/B Schedu|e AlB: Property page 3

Case 1-18-46794-€88 Doc 8 Filed 12/12/18

Debtor 1 C't'mi"i"mm JMO %H

Elit€red 12/13/18 09216244

 

First Name Middle Name Lasl Name

m Describe Your Personal and Household ltems

1 Do you own or have any legal or equitable interest in any of the following items?

f

,i 6. Household goods and furnishings
Examples: Major appliances furniture, linens, china, kitchenware

No

Case number (ifi<nawii) i ' i 8 _‘q" 65?9 il_ _ egg

Current value of the
portion you own?

Do not deduct secured claims ,
or exemptions

 

n Yes. Describe .........

 

 

 

7. E|ectronics
Examples.' Televisions and radios; audio, video, stereo, and digital equipment; computers printers, scanners; music

 

collections; electronic devices including cell phones, cameras media players games
Y/NO

n Yes. Describe ..........

 

 

 

. B. Co||ectib|es of value

Examples: Antiques and figurines; paintings prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections memorabi|ia, collectibles
la No

 

cl Yes. Describe ..........

 

 

 

9. Equipment for sports and hobbies

Examples.' Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments
/Q/No

 

l:l Yes. Describe ..........

 

 

 

10.Firearms
Examples: Pistols, rifles, shotguns ammunition, and related equipment
g No

 

l;l Yes. Describe ..........

 

 

 

z 11.Clothes
Examples.' Everyday clothes furs, leather coats, designer wear, shoes accessories

 

El No
iYes Describe ..........

 

 

$ hew

 

12.Jewelry
i Examples: Everydayjewelry, costume jewelry, engagement rings, wedding rings. heirloom jewelry, watches, gems,

go|d, silver
Z,No

 

 

m Yes Describe ..........

 

 

§ 13. Non-farm animals
Examples.' Dogs, cats, birds, horses

izFNo

 

l;l Yes. Describe ..........

 

 

 

. wyer personal and household items you did not already list, including any health aids you did not list

NO

 

n Yes. Give specific
information. .............

 

 

§ 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here .

   

Official Form 106A/B Schedule AlB: Property

 

 

 

 

page 4

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Entered 12/13/18 09216244

Debiori Ci~tnicwi.lm&- .\IY\O @\§*Pl

Flrst Name Middle Name Last Name

Case number (i/i<nowni l " ‘8 f '+é;rqi't' ‘ 653

 

m Describe Your Financial Assets
) Do you own or have any legal or equitable interest in any of the following? - ’ . _ >' Current Value Of the
` i ' ‘ ` ' " ‘ ‘ ‘ portion you own?
1 Do not deduct secured claims .
or exemptions
j 16. Cash

Examples.' Money you have in your wallet, in your home, in a safe deposit box, and on hand when you Hle your petition

§§ .......................

 

 

j 17. Deposits of money
Examples.' Checking, savings, or other financial accounts; certificates of deposit; shares in credit unionsl brokerage houses,
and other similar institutions lf you have multiple accounts with the same institution, list each.

ClNo

UYes ..................... lnstitution name:

17.1.Checking account C'i/{'C\ &'A’NK wl

17.2. Checking account:

l

 

17.3. Savings account

 

17.4. Savings account

 

17.5. Certit'icates of deposit;

 

17.6. Other financial account:

 

17.7. Other financial account

 

17.8. Other financial account:

 

17.9. Other financial acoount:

 

18. Bonds, mutual funds, or publicly traded stocks
yples: Bond funds, investment accounts with brokerage lirms, money market accounts

No
n Yes ................. lnstitution or issuer name:

MG>'€HM€BM€H€H

 

 

 

4 19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

 

 

B/No Name of entity: % of ownership:
n Yes Give specific O% %
information about
them ......................... - 0% %
O% %

 

Official Form 106A/B Schedule AlB: Property A_

 

page 5

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Entered 12/13/18 09216244

Debtor1 C‘H‘um)mar Jm/O Gm n Case number (Ifknown) 1 v l S‘L+ QHL£ r€’S;g

Firsi Name Midd|e Name Lasl Name

 

`. 20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

ZNo

m Yes. Give specific |SSUBF namef
information about
them ....................... $

 

 

 

. 21. Retirement or pension accounts
Examples.' lnterests in |RA, ER|SA, Keogh, 401 (k), 403(b), thrift savings accounts, or other pension or pratt-sharing plans

p/NO

n ¥es. List each

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

account separately. Type of account |nstitution name:
401(k) or similar plan: $
Pension plan: . ' _ \`l' $
|RA: \ :\ $
Retirement account $
Keogh: $
Additiona| account $
Additiona| account $
j 22.Se_curity deposits and prepayments
: ' ‘Your share of a|| unused deposits you have made so that you may continue service or use from a company
Examples.' Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others
,Z/NO
n Yes .......................... lnstitution name or individual:
Electn'c: $
Gas: $
Heatlng oil: $
Security deposit on rental unit $
Prepaid rent $
Telephone: $
Water: $
Rented furniture: $
Other: $
§ 23.Annu' ies (A contract for a periodic payment of money to you, either for life or for a number of years)
n n Yes .......................... lssuer name and description:
$
$

Official Form 106A/B Schedule AlB: Property page 6

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Entei’ed 12/13/18 09216244

Debtor1 Gwlc“mma' -|mo ©KH Case number (in<nawn) tr Lg q q' WL""€SS

First Name Middle Name Last Name

f 24. interests in an education |RA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1). `
No

n yes """"""""""""" , """"" institution name and description. Separately file the records of any interests.tt U.S.C. § 521(0):

 

 

. 25.Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
` exercisable for your benefit

MNQ

cl Yes. Give specific
information about them.... _ '$

 

 

 

 

1 26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: lntemet domain names, websites, proceeds from royalties and licensing agreements

/ZrNo

l:l Yes. Give specific
information about them.... $

 

 

 

 

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

,Z/No

n Yes. Give specific
information about them..., $

 

 

 

 

5 Money or property owed to you? , -» Current_value of the

portion you own?
Do not deduct secured
claims or exemptions

" 28.Tax_refunds owed to you

ZNO

 

n Yes. Give specific information Federal:
about them, including whether
you already filed the returns State:
and the tax years. ....................... wear

 

 

 

" 29. Family support
Examples.' Past due or lump sum alimony, spousal support child support maintenance, divorce settlement, property settlement

No

 

 

 

 

 

n Yes. Give specific information ..............
Alimony: $
Maintenance: $
Support $
Divorce settlement $
Property settlement $
30. Other amounts someone owes you _
Examples.' Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
§ ' Social Security benetts; unpaid loans you made to someone else 1
zi£
' Cl Yes. Give specific information ............... $ '_

 

 

 

 

Official Form 106AlB Schedule AlB: Property page 7

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Entei’ed 12/13/18 09216244

Debior 1 w‘cm)me{ j mm G/"<_fhr Case number (i'fkriown) l , [S' q' é:',q L['*Q'S~S

First Name Middle Name Last Name

; 31. interests in insurance policies
Examples: Hea|th, disability, or life insurance'; health savings account (HSA); credit, homeowner’s, or renter’s insurance

Z/No

n yes' Name the insurance cc_’mpany Company name: Beneficiary: Surrender or refund value:
of each policy and list its value.

 

 

 

- 32. Any interest in property that is due you from someone who has died

lf you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

No
n Yes. Give_specific information ..............

 

 

 

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
‘ Examples.' Accidents, employment disputes, insurance claims, or rights to sue

No
a Yes. Describe each claim. ....................

 

 

 

 

s 34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
l to set off claims

E/No

n Yes. Describe each claim. ....................

 

 

 

 

_ 35.Any financial assets you did not already list

/a/No

l:l Yes. Give specific information ............ $

 

 

 

 

§ 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached l <`S-D
for Part 4. Write that number here ...................................................... ') $ 3"' '

 

 

 

 

w Describe Any Business-Related Property You Own or Have an |nterest ln. List any real estate in Part 1.

 

T 37. Do ou own or have any legal or equitable interest in any business-related property?
/Zl)No. Go to Part 6.
n Yes. Go to line 38.

Current value of th`e
portion you own?

Do not deduct secured claims

 

v or exemptions
38.Acco nts receivable or commissions you already earned
Cl Yes. Describe .......
$

 

 

 

` 39. Office equipment, furnishings, and supplies
Exa ples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

No
l:l Yes. Describe ....... §

 

 

 

Official Form 106AlB Schedule AlB: Property ‘ page 8

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Entei’ed 12/13/18 09216244

new 1 C+w wm J mo SA£'R/ Case number (,,kmwm i ' 18 »"-f- €=H L[. ~ €_'s$

First Name Midd|e Name Last Name

 

_' 40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

)JNO

cl Yes. Describe .......

 

 

 

 

;' 41.lnventory
' No
n Yes. Describe ....... §

 

 

; 42.lnterests in partnerships orjoint ventures

No

n Yes. Describe ....... Name of entity: % of ownership:

% $
% $
% $

 

 

z 43. Customer lists, mailing lists, or other compilations
' ,B/No
El Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101 (41A))?
m No
n Yes. Describe ........

 

 

 

 

MWSiness-re|ated property you did not already list
1 No

n Yes. Give speciic
information .........

 

 

 

 

 

MM$$¢£UB

 

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ {@.1
for Part 5. Write that number here .............................................................................................................................................. ')

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an |nterest ln.
|f you own or have an interest in farmland, list it in Part 1.

 

46. Do yo own or have any legal or equitable interest in`any farm- or commercial fishing-related property?
136 co to Part 7.
§ n Yes. Go to line 47.
l Current value o`f the
portion you own?

Do not'deduct secured claims
or exemptions.

§ 47. Farm animals

yes Livestock, poultry, farm-raised fish
NO

n Yes .........................

 

 

 

 

Official Form 106AlB Schedule AlB: Property page 9

Case 1-18-46794-€88 Doc 8 Filed 12/12/18

was

Last Name

(,-t+v mm~$" J mo

First Name Middle Name

Dethr 1

 

48. Crops-either growing or harvested

mo

Elit€i’ed 12/13/18 09216t44

t’lS‘-»

Case number (ifi<nowni

 

n Yes. Give specific
information .............

 

 

 

§_ 4SErynd fishing equipment, implements, machinery, fixtures, and tools of trade
f N° .

 

cl Yes .............

 

 

 

 

50. Farm and fishing supplies, chemicals, and feed

/E/No

 

El Yes ..........................

 

51.Any farm- and commercial fishing-related property you did not already list

 

§ B/No
' El Yes. Give specific
§ information. ............

 

 

for Part 6. Write that number here

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached

frames

 

 

 

 

 

 

t

Describe All Property You Own or Have an |nterest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already |ist?

 

Exampl s: Season tickets, country club membership
126

L_.l Yes. Give specific
information .............

 

 

 

54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................. 9

 

 

 

 

 

List the Totals of Each Part of this Form

 

i

z 55.Part1: Total real estate, line 2 ..............
" 56. Part 2: Total vehicles, line 5 $
57. Part 3: Total personal and household items, line 15

"' 58. Part 4: Total financial assets, line 36

§ 59. Part 5: Total business-related property, line 45 $ 9

' 60. Part 6: Total farm- and fishing-related property, line 52

§ 61. Part 7: Total other property not listed, line 54 + $

 

l
62.Total personal property. Add lines 56 through 61. ....................

 

s

 

 

$ 3 3§' go Copy personal property total 9 §+$ B¢YQ/S'§b

 

Official Form 106AlB

Schedule AlB: Property

 

 

$_&';é:_‘;g’_50

 

 

page 10

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Entered 12/13/18 09216244

Fi|l in this information to identify your case:

 

 

 

 

Debtor1 C+fuicwumf’r Jm,€> W
First Name Mlddle Name Last Name
Debtor 2
(Spouse, if filing) First Name Midd|e Name Last Name
United States Bankruptcy Court for the'. gm District of f\\'é/& `l¢’£\§
c(,~l?se nu;nber l ‘ l 8 ' ‘l' 649 'Ll-'@S$ Cl check ifthis is an
known -

amended filing

 

Official Form 1060 ~"' “ _ , _» w
Schedule C: The Property You Claim as Exempt 04,16

 

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Officia| Form 106AlB) as your source, list the property that you claim as exempt. lf more
space is needed, fill out and attach to this page as many copies of Part 2: Additiona/ Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions_such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

motify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

la/You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
[] You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the p'roperty;anj`d line on_ Current value of the‘ ;j'._Arnount of the exemption you claim . ~ _Specific laws that_ allow exemption

 

 

 

 

 

 

Schedule A/B that lists this property portion you own 1
t ` , Copy the value from Check only one`b'ox for each exemption.
' '- -- _ l Sche_dule_A/B b _ 4 _. . ` " b b b _ _ _
Brief mi @ _QS€-' KW@E`C"F o t x ‘ l O.y' l __:
description: x g _/ $ l i$?,\ ge 3 §§ chl, ‘O\ so cca '-") _ (Q,,M.;L K<£,%\b€l~L-@b/
~ 100% of fair market value, up to 4 f
Lme from - l ” l any applicable statutory limit HNKN"""N M gts'hg`-F`“' ’
Schedule A/B. _ pp 7 rt 10
Brief
description: $ n $
Line from m 100% of fair market valuel up to
Schedule A/B_. any applicable statutory limit
Brief
description: $ n $
Line from l:l 100% affair market valuel up to
Schedule A/B_- any applicable statutory limit

 

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

No
El Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

l:l No
cl Yes
'(\\

Official Form 1060 Schedule C: The Property You Claim as Exempt page 1 of §

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Entered 12/13/18 09216244

Debtor 1 C’H'u mm H' J"n'LO

©/t<¥%'

 

First Name Middle Name

m Additional Page

Last Name

Case number (ifknewn) l Fl g ‘ '+ 6 l ii[“'_'e“$g

 

Brief description of the property and line
on Schedule A/B that lists this property

Current value of the
portion you own

Amount of the exemption you claim Specific laws that allow exemption

Check only one box for each exemption

 

El 100% of fair market value, up to

 

 

El 100% of fair market value, up to

 

 

El 100% of fair market value, up to

 

 

 

 

 

 

n 100% of fair market value, up to

 

 

 

n 100% of fair market value, up to

 

 

L_.l 100% of fair market valuel up to

 

 

m 100% of fair market value, up to
any applicable statutory limit

 

 

El 100% of fair market value, up to

 

 

El 100% of fair market value, up to

 

 

El 100% of fair market value, up to

 

 

l:l 100% of fair market value, up to

 

 

 

n 100% of fair market value, up to

' Copy the value from
Schedule A/B
l
Brief ‘\L m
description: ___-___ $ $
Line from . . .
Schedule A/B_- any applicable statutory limit
Brief
description: $ n $
Line from . . .
Schedule A/B_- _ any applicable statutory limit
Brief
description: $ v n $
Line from . . .
Schedule A/B_- _ any applicable statutory limit
Brief
description: $ cl $
' f
lé|£i?eL?/;; A/B_- any ap licable statutory limit
Brief
description: $ n $
Line from . . .
Schedule A/B_- _ any applicable statutory limit
Brief
description: $ m $
Line from . . .
Schedule A/B_~ ___ any applicable statutory limit
Brief
description: $ n $
Line from
Schedule A/B:
Brief
description: $ a $
Line from . . .
Schedule A/B_- _ any applicable statutory limit
Brief
description: $ n $
Line from . . .
Schedule A/B: _ any applicable statutory limit
Brief
description: $ n $
Line from _ l l
Schedule A/B_- any applicable statutory limit
Brief
description: $ n $
Line from _ d d
Schedu/e A/B_- _ any applicable statutory limit
Brief
description: $ n $
Line from

Schedule A/B:

Official Form 1060

Schedule C: The Property You Claim as Exempt

 

any applicable statutory limit

page _2_ Of _3-

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Entered 12/13/18 09216244

Fill in this information to identify your case:_

 

 

 

Debtor 1 C-H’u KW\,“H! J WLC O/Q¢B"
Fir`st Name Middle Name Last Name

Debtor 2

(SpOuSe, iff't|ing) First Name Mldd|e Name Last Name

United States Bankruptcy Court for the:t/S\:-e*_fg"l District Of NG"Y `IC-K-\g
Case number l " \ @"+' eq'q“+ "'“e’$$

(lf known)

a Check if this is an
amended hling

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, copy the Additiona| Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

 

1. Do any creditors have claims secured by your property?
l:.l No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

E/Yes. Fill in all of the information below.

List All Secured Claims
8 ' §Co'lumn A`:;' "

2. List all secured claims. lf a creditor has more than one secured claim, list the creditor separately ?Am°unt` bfjc|aim»
for each claim. lf more than one creditor has a particular claim, list the other creditors in Part 2. ‘D'U not dédud the '
As much as possible, list the claims in alphabetical order according to the creditor’s name. Value of c¢"atera|_

 

" Column B”v ColumnC _,
Value‘of'co|lateral Unsecured » t
l,that.supports this :§ portion '

‘ c`laim.-" t .' if any /

 

  
  

a

21 VS`IN\) fY\_‘F\' C_/ Describe the property that secures the claim: 5 558 1 ¢§m¢{ vi 55 qg¢ afoz H$ d

Creditors Name

[:7~0 ‘ B*°»’)( 51'~|~3%"{' ZtJJ~MN§C €£»‘er`/Al/ N`/ riles

Number Street

 

 

 

 

 

As of the date you file, the claim is: Check all that apply.
n Contingent v

Lt>$¢ftNCtt/:LES Gh' °l°"$l"¢fSS'-`{U uniiquidated

 

 

Cify state ziP code Disputed
Wh° owes the debt? Check °ne- Nature of lien. Check all that apply.
¢a/D€bior 1 On|y aj agreement you made (such as mortgage or secured
n Debtor 2 only car loan)
n Debtor1 and Debtor 2 only n Statutory lien (such as tax lien, mechanic's lien)
Cl At least one of the debtors and another n Judgment lien from a lawsuit

 

n Other (including a right to offset)
n Check if this claim relates to a _

community debt ¢ l , " ..
c b "J°
Date debt was incurred ‘ ! 91 cb Last 4 digits of account number 9 1 § 31

Describe the property that secures the claim: $ $ $

Creditors Name

 

 

 

 

 

 

 

 

 

Number Street
As of the date you file, the claim is: Check all that apply.
n Contingent
El Unliquidated
City state ZlP code n Disputed
Wh° owes the debt? Check On€- Nature of lien. Check all that apply.
n Debtor1 0an m An agreement you made (such as mortgage or secured
n Debtor 2 only car loan)

n Statutory lien (such as tax lien, mechanic's lien)
cl Judgment lien from a lawsuit
cl Other (including a right to offset)

n Debtor1 and Debtor 2 only
a At least one of the debtors and another

 

n Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number __ _ ___ __

Add the dollar value of your entries in Column A on this page. Write that number'here: |$M |

 

 

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of _?)_

 

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Entel’ed 12/13/18 09216244

Gtwr»:mm)‘r Jm/”\) t'lS“L(~c,-:%qu_~Q/S&

First Name Middle Name

marr

Last Name

Debtor1 Case number iiri<newrr)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Additional page ; Column Af _ c Column B Column C‘
_ _ _ _ _ _ _ Amount of claim Value of collateral Unsecured
After listing any entries on this page, number them beginning with 2.3, followed :Do not dedud the that supports this portion
by 2-4r and S° f°""'- ‘.Y.a!l.l.e .<.>f_ wllaté_ral.-. °l?"?‘ t , lt any »
. [\Y / ‘>( Describe the property that secures the claim: $ $ $
Creditors Name l ’ '
Number Street
As of the date you file, the claim is: Check all that apply.
m Contingent
City State Z|P Code n Unliquidated
n Disputed
WhO OweS the debf? Check Olle- Nature of lien. Check all that apply.
n Debf°l 1 0an cl An agreement you made (such as mortgage or secured
n Debtor 2 only car loan)
n Debio`r1 and Debior 2 only cl Statutory lien (such as tax lien, mechanic's lien)
n At least one of the debtors and another n Judgmem lien from a laWSUlt
El other (including a right to offset)
El Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number ___ _ _ _
._| [\\ B_\ Describe the property that secures the claim: $ $ $
Creditors Name ' `
Number Street
As of the date you file, the claim is: Check all that apply.
cl Contingent
n Unliquidated
City State ZlP Code n Disputed
Wh° owes the debt? Check °ne' Nature of lien. Check all that apply.
[:l Debtor1 only cl An agreement you made (such as mortgage or secured
cl Debtor 2 only car loan)
n Debtor1 and Debtor 2 only l:l Statutory lien (such as tax lienl mechanic's lien)
l;l At least one of the debtors and another EI Judgmeni lien from a lawsuit
. . . t
n Check if this claim relates to a n Other (mc|udmg a "ght to offse)
z community debt
Date debt was incurred Last 4 digits of account number __ __ _ ___'
l f* _b( Describe the property that secures the claim: $ $ $
Creditors Name ' '

 

 

Number

Street

 

 

 

 

 

U U|JUU

 

City State

Z|P Code

Who owes the debt? Check one.

Debtor1 only

Debtor 2 only

Debtor1 and Debtor 2 only

At least one of the debtors and another

Check if this claim relates to a
community debt

Date debt was incurred

Add the dollar value of your entries in Column A on this page. Write that number here: $

lf this is the last page of your form, add the dollar value totals from all pages.

As of the date you filel the claim is: Check all that apply.

n Contingent

n Unliquidated

m Disputed

Nature of lien. Check all that apply.

n An agreement you made (such as mortgage or secured
car loan)

n Statutory lien (such as tax lien, mechanic's lien)

n Judgment lien from a lawsuit

l:l Other (including a right to offset)

Last 4 digits of account number _

   

 

 

Official Form 106D

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

page _3_~Of _?>

 

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Entel’ed 12/13/18 09216244

Debt°r 1 CMKMM imc ©'\'C.P¥ Case number (/rkrrawn) \ ’ ‘ g _ ‘+eq_q Lt' “eSS

First Name Midd|e Name Last Name

m List Others to Be Notified for a Debt That You Already Listed

 

z . , . . . l
§ Use this page only if you have others t`o be notified about your bankruptcy for a debt that you-already listed in Part 1. For example, if a collection

§ agency is trying to collect from you -for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
you have more than one creditor for`any of the debts that you listed in Part 1, list`the additional creditors here. |f you do not have additional persons to
be notified for any debts in Part1, do not t"ill out or submit this page. `

|:l '\Q {B On which line in Part1 did you enter the creditor?
i` " ‘

Name Last 4 digits of account number _

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Number Street
City 1 ' State ZlP Code
l 0n which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number _ _ __ _
Number Street
City State ZlP Code
On which line in Part1 did you enter the creditoi’?
Name Last 4 digits of account number_ _ __ _
‘ Number Street
City State ZlP Code
' On which line in Part1 did you enter the creditor?
8 Name Last 4 digits of account number_ _ __ _
§
Number Street
City State ZlP Code
\_| On which line in Part1 did you enter the creditor?
Name Last 4 digits of account number__ _ __ _
Number Street
City State ZlP Code
__| On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number __ _ _ _

 

 

Number Street

 

 

City State ZlP Code

Ofticial Form 1060 Part 2 of Schedule D: Creditors Whol Have Claims Secured by Property page § of _,z

 

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Entered 12/13/18 09216244

c ill in this information to identify your case:

 

 

 

 

 

 

Debtor1 CW> KWWY¥‘H' J mo S/tOA'
Flrst Name y Mlddle Name Last Name

Debtor2

(Spouse_ iffi|ing) Fiis¢Name Middle Name LastName

United States Bankruptcy Court for the:é\;g/:{L"x Disfrict of nw `1 e'é»lL

_ , _ El check ifthis is an

%?::o:¢:?ber l r g cfr bqrq q: w amended filing
Official Form 106E/F
Schedule ElF: Creditors Who Have Unsecured Claims 12/15

 

Be as complete and accurate as possible. Use Part1 for creditors with PR|ORlTY claims and Part 2 for creditors with NONPR|ORlTY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. A|so list executory contracts on Schedule
A/B: Property (Official Form 106AlB) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. |f more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the |eft. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

j 1- List All of Your PR|ORlTY Unsecured Claims

 

1. Do any creditors have priority unsecured claims against you?
n No. Go to Part 2.

2. List all of your p'riority unsecured claims. lf a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of- claim it.is. lan claim has both priority and nonpriority amountsl list that claim here and,show both priority and

nonpriority amounts As much as` possib|e, list the claims in alphabetical order according to `the creditors name. lf you have more than two priority
unsecured claims, fill o'ut the Continuation Page of Part 1. lf more than on_e creditor holds.a particular claim, list the other creditors in Part 3.

(For an. explanation of each type-of claim, see the instructions for this form in the instruction booklet.)

   

.. ,,.z.t`, t.,

        

 

ii;,.i"p

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

f"'ii"$:iai ¢iaim `_ Pii£;iity , v ri“iyv
`*' amount la »- amount __
2.1 ,_prg § >
D ‘-SMQ C’ Last4 digits of account number _ _ _ _ $ '/ $ 5
Prio `ty Creditors Name
v § ' &'GO< l § :lb \ When was the debt incurred?
Nu'mber Street '
As of the date you file, the claim is: Check all that apply.
w\i_m mq€w~\ D-€ \SSBG'E)S|U C t. (~
city state ziP code °" '"gem
_ o E’Unliquidated
Who incurred the debt. Check one. n Disputed
mebtort only
l:l Debtor 2 only Type_ of PR|ORlTY unsecured claim:
g Debtor1 and Debt°r 2 only n Domestic support obligations
At leas! one of the debwrs and another \:l Taxes and certain other debts you owe the government
m Check 'f th's cla'm ls for a c°mmumty debt n Claims for death or personal injury while you were
ls th claim subject to offset? 'm°Xi°ated /
B/N: g{`Other. Specify NM
n Yes
2‘2 l ‘\`t A>< Last 4 digits of account number _ _ _ _ $ $ $
Prion'ty creditors Name '
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
n 1Contingent
city state ziP code Cl Unliquidated
Who incurred the debt? Check one. n Disputed

m Debtor1 only

L__l Debtor 2 only

a Debtor1 and Debtor 2 only

m At least one of the debtors and another

Type of PRlORlTY unsecured claim:
[;l Domestic support obligations
n Taxes and certain other debts you owe the government

n Claims for death or ersonal in'u while ou were
n Check if this claim is for a community debt p j ry y

 

 

intoxicated
ls the claim subject to offset? n Other. Specify
n No
n Yes

 

 

Ofticial Form 106E/F Schedule ElF: Creditors Who Have Unsecured Claims page 1 of _§

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Entel’ed 12/13/18 09216244

Crtova#W' jim

First Name Midd|e Name

Debtor 1

Last Name

©\<1°¥

Case number (irknown)

m Your PRloRlTY unsecured claims - continuation Page

i/\€"été""tq*i(:»€£>&

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so foith. ` Total claim `» »Priority .Nonpriority
` ' v amount ' amount
N /{D( Last4 digits of account number _ _ _ _ 5 $ $
Prion`ty Creditors Name " ' `
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
cl Contingent
city state 'ziP code |;l Unliquidated
n Disputed
Who incurred the debt? Check one.
El Debtor1 only Type of PR|ORlTY unsecured claim:
n Debtor 2 only n Domestic support obligations
n Debtor1 and Debtor 2 only m .
Taxes and certain other debts you owe the government
n At least one of the debtors and another m . . . .
Claims for death or personal injury while you were
El check if this claim is for a community debt '"‘°"‘°a‘ed
n Other. Specify
- ls the claim subject to offset?
n No
a Yes
l
_l /"\t /ib¢
` Last4 digits of account number _ _ _ _ $ $ $
Pri`ority Creditors Name ' ‘
j When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
n Contingent
city state ziP code Cl unliquidated
m Disputed
Who incurred the debt? Check one.
El Debtor1 only Type of PR|ORlTY unsecured claim:
l;l Debtor 2 only n Domestic support obligations
n Debtor1 and Debtor 2 only .
n Taxes and certain other debts you owe the government
n At least one of the debtors and another n . . . .
Claims for death or personal injury while you were
a Check if this claim is for a community debt ‘m°)°'cated l
n Other. Specify
ls the claim subject to offset?
El No
n Yes
_| M\/
` FP( Last 4 digits of account number _ __ _ $ $ $
Pr'iority Creditors Name K l j
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
l:l Contingent l
city state ziP code El Unliquidated
El Disputed
Who incurred the debt? Check one.
Cl Debtor1 only Type of PRlOR|TY unsecured claim:
El D vt 2 i
e Or on y _ n Domestic support obligations
n Debtor1 and Debtor 2 only .
n Taxes and certain other debts you owe the government
n At least one of the debtors and another . . . .
l:l Claims for death or personal injury while you were
El Check if this claim is for a community debt 'm°x'°ated
n Other. Specify
ls the claim subject to offset?
n No
[:l Yes

 

 

Official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

page Q_~Of §

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Entel’ed 12/13/18 09216244

Ctli)i<wvmi=r _jmc>

Middle Name

QF'PT'

Last Name

Debtor 1

First Name

mist All of Your _NONPRlORlTY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?
ij No. You have nothing to report in this part. Submit this form to the court with your other schedules

Yes

claims till out the C`ontinuation Page of Part 2.

 

 

 

t'~ l§»i-[.-é:-iét€ij/-€££

Case number (ifi<nowni

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor_who holds ea_ch_c|aim. lf a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. Fo'r each claim listed, identify what-type of claim it is. Do not list claims already
included in Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.|f yo'u have more than three nonpriority unsecured

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

- system
4.1 4 »'~ k ,
___i -1»- y v- ~ . . . ’ i\'l / Last4 digits of account number_ _ _ _
Nonpn'ority Creditors Name l ' ' $
When was the debt incurred?
Number Street
city state zip Code As of the date you file, the claim is: Check all that apply.
n Contingent
Who incurred the debt? Check one. C] Unliquidated
El Debtor1 only E| Disputed
m Debtor 2 only .
El Debtor1 and Debtor 2 only Type of NONPR|ORlTY unsecured claim:
i;i At least one of the debtors and another n Siudent loans
n Check if this claim is for a community debt m Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
is the Claim Subiect to offset? n Deth to pension or profit-sharing plans, and other similar debts
i:l No n Other. Specify ‘
n Yes
4-2 l N_ »¥Y Last4 digits of account number _ _ _ _ $_
Nonprioriiy creditors Name When was the debt incurred?
Number Street ,
As of the date you file, the claim is: Check all that apply.
City State ziP Code n Contingent
Who incurred the debt? Check one. n Unliquidated
n Debtor1 only n D’Sputed
ci Debtor2 only _
n Debtor1 and Debtor 2 only Type of NONPR|ORlTY unsecured claim:
n At least one of the debtors and another m Student loans
_ _ _ _ _ a Obligations arising out of a separation agreement or divorce
n Check if this claim is for a community debt that you did not report as priority claims
is the claim subject to offset? n Debts to pension or profit-sharing plansl and other similar debts
g No El other specify
Ei Yes
4.3 . .
i\g` *P(/ Last 4 digits of account number _ _ _ _
Nonpriority Creditors Name _ $___
When was the debt incurred?
Number Street
' ` ' : k at | .
City State ZlP Code As of the date you file, the claim is Chec all th app y
C t' t
Who incurred the debt? Check one. L_'l Dr_` m_gen
n a Unliquidated
Debtor1 only Ci Disputed
cl Debtor 2 only
a Debt°“ and Debt°’ 2 °“ly Type of NONPR|ORlTY unsecured claim:
n At least one of the debtors and another
n Student loans
n Check if this claim is for a community debt [:l Obligations arising out of a separation agreement or divorce
` . . that you did not report as priority claims
ls the clalm subject to offset? n Debts to pension or profit-sharing plans, and other similar debts
m No n Other. Specify `
i;i Yes
Oflicial Form 106E/F Schedule EIF: Creditors Who Have Unsecured Claims page 3 of _6_

 

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Entel’ed 12/13/18 09216244

Debtor1 (’;m mn mar Jm ®/KM Case number (iri<nown) t li g y %q,g\ Ce 'e§’£

 

 

 

First Name Middle Name Last Name
m Your NONPR|ORlTY Unsecured Claims - Continuation Page
After listing any entries on this page, number them beginning-with 4.4, followed by 4.5, and so forth. Total claim

t

 

 

 

 

i\§ /Ap\, Last4 digits of account number _ _ _ _' $
r

When was the debt incurred?

Nonpriority Creditors Name

 

 

N o St t

um er fee As of the date you file, the claim is: Check all that apply.
City State ZlP Code a Contingent

i:l Unliquidated

Who incurred the debt? Check one. l:| Disputed
m Debtor1 only
Cl Debtor2 only Type of NONPR|ORlTY unsecured claim:
n Debtor1 and Debtor2 only l:| Student loans

n At least one °f the debtors and another cl Obligations arising out cfa separation agreement or divorce that
you did not report as priority claims
l:l Debts to pension or profit-sharing plans, and other similar debts

ls the claim subject to offset? L_.I Other. Specify

n No
i:i Yes

Ei Check if this claim is for a community debt

 

i ,\)~ / ,PY\ Last4 digits of account number _ _ _ _ $__

 

Nonpri`onty Creditors Name
When was the debt incurred?

 

 

Number Street As of the date you file, the claim is: Check all that apply.
city state ziP code El contingent
ill unliquidated
Who incurred the debt? Check one. |;| Disputed
cl Debtor1 only
El Debtor2 only Type of NONPR|ORlTY unsecured claim:

n Debtor 1 and Debtor 2 only

n Student loans
a At least one of the debtors and another

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Check if this claim is for a community debt _ _ , _
n Debts to pension or protit-sharing plans, and other similar debts

ls the claim subject to offset? |;l Other_ Specify
n No
n Yes

l

 

_| i/\\ / P\/ ` Last4 digits of account number _ _ _ _ $ .

Nonpriority Creditors Name i

 

When was the debt incurred?

 

 

Number Street As of the date you H|e, the claim is: Check all that apply.
city State ZlP Code El Contingent
E| unliquidated
Who incurred the debt? Check one. _ m Disputed
m Debtor1 only
El Debtor 2 only Type of NONPR|ORlTY unsecured claim:

m Debtor1 and Debtor 2 only

ij Student loans
Ei At least one of the debtors and another

cl Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? |;| Other_ Specify

n No

n Yes

i:i Check if this claim is for a community debt

 

 

 

Official Form 106E/F Schedule ElF: Creditors Who Have Unsecured Claims page _$ of §

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Entel’ed 12/13/18 09216244

Debtor 1 C*\'” K"WM J |Y\'O ©/\CPT

Case number iitknowni l / ig- "{' é":i_°\ "{' '_Q‘g g

 

First Name Middle Name Last Name

m List Others to Be Notified About a Debt That You Already Listed

 

§ 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For

§ example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or

§ 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
§ additional creditors here. lf you do not h`ave»additional persons to be notified for any debts in Parts 1 or 2, do not fill put or submit this page.

rst/ic

 

 

 

 

l

On which entry in Part 1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name l 47 \
Line of (Check one): n Part 1 : Creditors with Priority Unsecured Claims
Number S"e°t El Part 2'. Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number_ _ _ _
City State ZlP Code
0n which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): l;l Part 1: Creditors with Priority Unsecured Claims
Number S"e°‘ Cl Part 2: Creditors with Nonpriority Unsecured
Claims
v Last 4 digits of account number_ _ _
City State ZlP Code
On which entry in Part1 or Part 2 did you list the original creditor?
Name
Line of (Check one): Cl Part 1.' Creditors with Priority Unsecured Claims
Number S“ee‘ El Part 2: Creditors with Nonpriority Unsecured
Claims
Last4 digits of account number_ _ _ _
City State ZlP Code
On which entry in Part1 or Part 2 did you list the original creditor?
Name
Line of (Check one): m Part 1: Creditors with Priority Unsecured Claims
Number Siree‘ [] Part 2: Creditors with Nonpriority Unsecured
Claims
_ Last 4 digits of account number_ _ _ _
City State ZlP Code
On which entry in Part1 or Part 2 did you list the original creditor?
Name
Line of (Check one): El Part1: Creditors with Priority Unsecured Claims
Number S'*'°°‘ Cl Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number_ _ _ _
mem State ZlP Code
On which entry in Part1 or Part 2 did you list the original creditor?
Name .
Line _ of (Check one): Cl Part 1: Creditors with Priority Unsecured Claims
Number Street U Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number_ _ _ _
City State ZlP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line _ of (Check one): El Part 1: Creditors with Priority Unsecured Claims
Number Street Cl Part 2: Creditors with Nonpriority Unsecured
Claims
city State ZlP Code Last 4 digits of account number _ _ _ _

 

 

Official Form 106E/F Schedule ElF: Creditors Who Have Unsecured Claims page § of _L;

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Entel’ed 12/13/18 09216244

Debtor1 C’tt“ mma/l Jmo ®AS~`"P§,

 

Flrst Name Middle Name Last Name

m Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes on|y. 28 U.S.C. § 159.

Add the amounts for each type of unsecured claim.

Total claims 6a. Domestic support obligations

from Part1 Sb. Taxes and certain other debts you owe the

government

6e. Claims for death or personal injury while you were
intoxicated

6d. Other. Add all other priority unsecured claims.
Write that amount here.

6e. Total. Add lines 6a through 6d.

Total claims 6f. Student loans

from Part 2 Gg. Obligations arising out of a separation agreement

or divorce that you did not report as priority
claims

6h. Debts to pension or profit-sharing plans, and other
similar debts

6i.4 Other. Add all other nonpriority unsecured claims.
Write that amount here.

6j. Total. Add lines 6f through 6i.

 

Sa.

6h.

6c. ,

6d.

6e.

6f.

69.

6h.

6i.

ej.

Case number tirknown) \ "` l g ’(`['€qdq LE w

 

 

 

 

Total claim
$___L
$ é®/
$__L
$ )Y
Total claim

 

 

§ witt ii

 

 

 

 

Official Form 106E/F Schedule ElF: Creditors Who Have Unsecured Claims page _6_ of_()

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Entered 12/13/18 09216244

Fill in this information to identify your case:

Debtor C+h.\ m)mh' j/n/LO @`L.p`_

First Name Middle Name Last Name

Debtor 2
(Spouse lf tiling) Fier Name Middle Name Last Name

United States Bankruptcy Court for the: MN DiStriCt Of lM'_ `,0'£,\§
Case number l f Lg" " L£~b`q'q L!¢“"e..S/S

(lf known)

 

D Check ifthis is an
amended filing

 

 

Official Form 1066 l
Schedule G: Executory Contracts and Unexpired Leases 12115

 

Be as complete and accurate as possible. |f two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do ou have any executory contracts _or unexpired leases?
No. Check this box and file this form with the co'ur't with your other Schedules. You have nothing else to report on this form.
Cl Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B.' Property (Official Form 106AlB).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases. l ‘><~ l

,
t-'<

Person or company with whom you have the contract or lease l _ State what the contract or lease is for

 

Name

 

Number Street

 

City State ZlP Code

 

2.2§

 

Name

 

Number Street

 

City State ZlP Code
2.§3

 

Name

 

Number Street

 

City State ZlP Code

 

Name

 

Number Street

 

City State ZlP Code
2.5§

 

Name

 

Number Street

 

 

City State ZlP Code

Official Form 1066 Schedule G: Executory Contracts and Unexpired Leases il page 1 on-_

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Entered 12/13/18 09216244

Debtor1 CM`\<m)m& .\ mo S/`@‘a Case number (irknown) l f \ g' q`é>qq q___€""%g

First Name Middle Name Last Name

 

- Additional Page if You Have More Contracts or Leases

Person or company with whom you have the contract or lease What the contract or lease is for

z
z

ii;’>

 

Name

 

Number Street

 

City State Z|P Code

 

 

Name

 

Number Street

 

City State ZlP Code

 

 

 

Name

 

Number Street

 

City State Z|P Code

 

 

 

Name

 

Number Street

 

City State ZlP Code

 

 

 

Name

 

' Number Street

 

City State ZlP Code

 

 

 

 

Name

 

Number Street

 

City - State ZlP Code

 

 

 

Name

 

Number Street

 

City State ZlP Code

 

 

Name

 

Number Street

 

 

City State ZlP Code

Ofticial Form 1066 Schedule G: Executory Contracts and Unexpired Leases page _3__of _Q.

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Entered 12/13/18 09216244

Fill in this information to identify your case:

 

 

 

Debtor1 C+wiwvmli' liY\/<> ®/lCPr
First Name Middle Name Last Name

Debtor 2

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: %('B<N District Of '\\6`\ \/c‘-KL§
Case number l " 18 /|'|7@':|'°| ‘¥'"“Q» ss

(lf known)

Cl check if this is an
amended filing

Official Form 106H
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. |f two married people
are filing together, both are equally responsible for supplying correct information. lf more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the |eft. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

1. l?-§yu have any codebtors? (lf you are filing a joint case, do not list either spouse as a codebtor.)
No `

Cl Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and V\hsconsin.)

/E/No. so to iine 3.

n Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
n No

n Yes. ln which community state or territory did you live? . Fill in the name and current address of that person.

 

Name of your spouse. former spouse, or legal equivalent

 

Number Street

 

City State ‘ ZlP Code

3. ln Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 1OSD), Schedule E/F (Official Form 106ElF), or Schedule G (Official Form 1066). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

Column 1: Your codebtor ' n Column 2: The creditor to whom you owe the debt
Check all schedules that apply:
:\3_1 14 _\3(
Cl Schedule D, line
Name l

 

Cl Schedule E/F, line
Number Street Cl Schedule G, line

 

 

City State Zl P Code

 

g

El Schedule D, line___

 

 

 

 

 

 

Name
Cl Schedule E/F, line ___
Number Street Cl Schedule 6, line
City State ZlP Code
3.3 .
Cl Schedule D, line
Name
Cl Schedule E/F, line
Number street El Schedule G, line
City State ZlP Code

 

 

 

 

 

Official Form 106H Schedule H: Your Codebtors page 1 of 2-

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Entered 12/13/18 09216244

Girw wmh' _imo

Debtor 1

®tC‘Pr

 

First Name Middle Name

Last Nam e

- Additional Page to List More Codebtors

Case number (irknewni

 

 

 

148 "~l€:l‘i%~€$'_$

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column 1.' ¥our codebtor Column 2.' The creditor to whom you owe the debt
:\ I\& / Check all schedules that apply'l
i>v'
, . Cl Schedule D, line
Name _
l:l Schedule E/F, line
Number S,ree¢ Cl Schedule 6, line
City State ZlP Code
3-_
Cl scheduie D, iine
Name
Cl Schedule E/F, line
Number street Cl Schedule 6, line _
City State ZlP Code
:-i
Cl Schedule D, line
Name
El Schedule E/F, line
Number Street n Schedule G, line _
City State ZlP Code
§ »
Cl Schedule D, line
Name
El Schedule E/F, iine
Number street El Schedule 6, line ___
City State ZlP Code
3._
El Schedule D, line
Name _'
El Schedule E/F, line
Number street n Schedule 6, line _
City State Z|P Code
~;-l
Cl Schedule D, line
Name
Cl Schedule E/F, line
Number Street n SChedule G, line ___
City State ZlP Code
d
El Schedule D, line
Name
Cl Schedule E/F, line
Number street El Schedule G, line
City State ZlP Code
e_i
Name Cl Schedule D, line
El Schedule E/F, line
»Number street Cl Schedule G, line
City State ZlP Code

 

Official Form 106H

Schedule H: Your Codebtors

page D_ Offi-

 

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Elitel’ed 12/13/18 09216244

1 ill in this information to identify your case:

 

 

 

Debtor 1 C'Hn mma -\ mo © M
First Name Middle Name Last Name

Debtor 2

(Spouse, ifhling) First Name Middle Name Last Name

United States Bankruptcy Court for the: ék`$w District of NE'° \LS'U
Case number l ' l g f L[' bqq' L{_" F'e'$$ Check if this iSZ

 

 

(ltknown)
cl An amended filing
Cl A supplement showing postpetition chapter 13
income as of the following date:
Official Form 1061 m
Schedule l: Your lncome 12/15

 

Be as complete and accurate as possible. lf two married people are filing together (Debtor1 and Debtor 2), both are equally responsible for
supplying correct information. lf you are married and not filing joint|y, and your spouse is living with you, include information about your spouse.
lf you are separated and your spouse is not filing with you, do not include information about your spouse. |f more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

l- Describe Employment

1. Fill in your employment

 

information_ Debtor 1_ ._ . ' Debtor 2 or non-filing spouse
lf you have more than one job, l

attach a separate page with

information about additional Employment status l;l Employed n Employed

employers. met employed (S€LF`,E“?MED cl Not employed

lnc|ude part-time, seasonal, or

self-employed work. -TWS?QECR/(M .ee C_pr€`@ib

Occupation may include student occupation H¢A,N (q
.~ bl_l M.

or homemaker, if it applies. _ _
Employer’s name MMMTMMS“‘W'NC?) |NC'

Employer’s address 3\3'3_@€€(>’\\§ §(F£e{(

Number Street Number Street

 

 

Bf&o=>\>‘~c.ill N‘l ii;'»<>$

City State ZlP Code City State ZlP Code

How long employed there? 22 § |;5

m Give Details About Monthly lncome

 

Estimate monthly income as of the date you file this form. lf you have nothing to report for any line, write $0 in the space. include your non-filing
spouse unless you are separated. ~

lf you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. lf you need more space, attach a separate sheet to this form.

`l=_or Debtor 1 For Debtor 2 or
. '» - non-filing spouse

2. List m_onthly gross wages, salary, and commissions (before all payroll

deductions). lf not paid monthly, calculate what the monthly Wage would be. 2. $ g E'_, §§ $

3. Estimate and list monthly overtime pay. 3. + $ /e/ + $

4. Calculate gross income. Add line 2 + line 3. 4. $ 275‘ §§ $_____

 

 

 

 

 

 

 

 

 

thcial Form 106| Schedule l: Your lncome ' page 1

 

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Elitel’ed 12/13/18 09216244

 

 

Debtor1 C$H'“K"`w mh__ ]`mo G'K"A Case number lirknuwn) l f 1€,_ Ll`é q_q L|" _Q'S~S
First Name Middle Name Last Name '
""r"o} nebtor t F$}`bebior'z er '
non-ming spouse
Copy line 4 here ............................................................................................... ') 4. $ é.§"°m> $

54 List all payroll deductions:

 

5a. Tax, Medicare, and Social Security deductions 5a. $ $
5b. Mandatory contributions for retirement plans 5b. $ $
5c. Voluntary contributions for retirement plans 5c. $ $
5d. Required repayments of retirement fund loans 5d. $ $
5e. insurance 5e. $\ $
5f. Domestic support obligations 5f. $ $
5g. Union dues 59. $ $
5h. Other deductions. Specify: 5h. +$ _' + $
8. Add the payroll deductions, Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h. 6. $ /®/ $
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 3 lq/G§ $
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ Q_ q Q,ZB-‘+ $

monthly net income. 8a.

8b. interest and dividends 8b. $ , z $_

80. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
include alimony, spousal support, child support, maintenance, divorce $ /@/ $
settlement and property settlement 80. _

8d. Unemploymentcompensation 8d. $ /E( $_
Se.Socia|Security Be. $ §§ $

8f. Other government assistance that you regularly receive
include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.

Specify: 4 8f. $____L $__

 

 

 

 

 

 

Sg. Pension or retirement income 89. $ /®/ $
8h. Other monthly income. Specify: 8h. + $ § + $
9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +89 + 8h. ' 9. $Lfll§ ’§ff' $
10. Calculate monthly income. Add line 7 + line 9. - ~ , '
Add the entries in line 10 for Debtor1 and Debtor 2 or non-filing spouse. 10. $é 633 3 + $ _ $

 

 

 

 

 

11. State all other regular contributions to the expenses that you list in Schedule J.

include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify: 11.+ $ 31

 

 

 

 

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. 6 egg z
Write that amount on the Summary of Your Assets and Liabi/ities and Certain Statistical lnformation, if it applies 12. $_;t
Combined

monthly income
13. Do u expect an increase or decrease within the year after you file this form?

No.

 

cl Yes. Explain:

 

 

 

Official Form 106| Schedule |: Your income page 2

 

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Elitel’ed 12/13/18 09216244

 
 

t ill in this information to identify your case:

       

 

 

Debtor1 C'F\i:\;\n:°"‘”ma/ Mi-!dgt§ L%|§:A’ Check if this is:

(DS:E:;;,zif filing) FiretNeme Middle Name Laerame n An amended ming _ _ _

United States Bankruptcy Court for the: @S_U Distri¢t Of MMK n );`X:l;$\r;l:;nae:i):?:;vlf:iiop\)li/Jllsi;p:t'c|ltfl;n Chapter 13
Case number l " l g f l'&’eqq q' "'€-'S§ |VllVl_/W

 

(lf known)

 

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach another sheet to this forrn. On the top of any additional pages, write your name and case number
(if known). Answer every question.

| im Describe Your Household

 

 

1. is this a joint case?

 

 

 

 

 

 

 

 

 

No. Go to line 2.
i:l Yes. Does Debtor 2 live in a separate househo|d?
m No v
n Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents? l;| N° ' _ »
Dependent‘s relationship to Dependent‘s _ Does dependent live
DO not list Debtor 1 and MYes_ Fi|| out this information for Debtor 1 or Debtor 2 age ‘ with you?
Debtor 2. ' each dependent .......................... n
Do not state the dependents' S@"\| 92 ; E/No
names. z Yes
bmc;~&'(f£& l 8 Cl No
_ v Yes
§ _QN _ _ l l j i:l No
Y¥es
cl No
m Yes
n No
i:l Yes
3. Do your expenses include /a/NO

expenses of people other than a
yourself and your dependents? Yes

m Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. if this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

include expenses paid for with non-cash government assistance if you know the value of

 

such assistance and have included it on Schedule I: Yourlncome (Official Form 106|.) Y°u" expenses

4. The rental or home ownership expenses for your residence. include first mortgage payments and $ _,
any rent for the ground or iot. 4.
if not included in line 4:
4a. Real estate taxes ' 4a $_ _____"
4b. Property, homeowner’s, or renter’s insurance 4b. $Mi/lq/__
4c. Home maintenance, repair, and upkeep expenses 4c. $
4d. Homeowner’s association or condominium dues 4d. $

Official Form 106J Schedule J: Your Expenses page 1

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Elitel’ed 12/13/18 09216244

 

 

 

Debtor1 C'“'“ mma' J{m ©’M Case number (irl<nawn) l ' l'B v 4 @ ] j LE b
First Name Middle Name Last Name ,
Your expenses
5. Additional mortgage payments for your residence, such as home equity loans 5. $
_ 6. Utilities: .
6a. Electricity, heat, natural gas ' sa. $ l Q/® ° H'
6b. Water, sewer, garbage collection 6h. $
6e. Telephone, cell phone, lntemet, satellite, and cable services 6e. $ ' 3d ‘ ?3
6d. Other. Specify: 6d. $

 

7. Food and housekeeping supplies 7. $ §§ 33 '/m

B. Childcare and children’s education costs 8. $
9. Clothing, |aundry, and dry cleaning 9. $
10. Persona| care products and services ' 10. $
11. Medica| and dental expenses l 11. $
12. ;r;i:::);rc’tl:t;;r;.ailri;:iydneeg;:: maintenance, bus or train fare. 12. $ Z/Qt/:">,
13. Entertainment, clubs, recreation, newspapers, magazines, and books 13. $
14. Charitable contributions and religious donations 14. $

15. lnsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

 

 

 

 

 

15a. Life insurance 15a_ $

15b. Heaith insurance ' 15b. $

15c. Vehicle insurance 15¢. $

15d. Otherinsurance. Specify: 15d. $
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.

Specify: 16. $
17. installment or lease payments:

17a. Car payments for Vehicle 1 17a. $

17b. Car payments for Vehicle 2 _17b. $

17c. Other. Specify: 17c. $

17d. Other. Specify: 17d. $
18. Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule I, Yourlncome (Official Form 106|). 18. $
19. Other payments you make to support others who do not live with you.

Specify: 19. $
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your lncome.

20a. Mortgages on other property 20a. $

20b. Real estate taxes 20b. $

20a. Property, homeowner’sl or renter’s insurance 20a. $

20d. Maintenance, repair, and upkeep expenses 20d. $

20a. Homeowner’s association or condominium dues, 20e. $

Official Form 106J 4 Schedule J: Your Expenses page 2

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Elitel’ed 12/13/18 09216244

Debtor1 C"*WW j wm GK"H' Case number tirknown) \ ’ [“%/LE rd l i' ne w egg

First Name Middle Name Last Name

 

 

21. Other. Specify: 21- +$_4®;._

 

22. Calculate your monthly expenses.
223. Add lines 4 through 21. 22a $ l/Q/@~" l/
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Ofiicial Form 106J-2 22b. $ §§ '
22c. Add line 22a and 22b. The result is your monthly expenses. 22c. $ l l Q/e ‘ \ :i/

 

 

 

 

23. Calculate your monthly net income.
23a. Copy line 12 (your combined monthly income) from Schedule I. 23a.

23b. Copy your monthly expenses from line 22c above. 23b. _$ i l \ D/é ‘ \ ;¥"

23c. Subtract your monthly expenses from your monthly income. ' , 63 . l q»
. . $ '
The result ls your monthly net income. 4 23c.

 

\.

 

 

 

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For examplel do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modiiication to the terms of your mortgage?

No.
n YeS- Explain here:

 

 

 

 

Official Form 106J Schedule J: Your Expenses page 3

CaS€ _1-18-46794-€88 DOC 8 Filed 12/12/18 Entered 12/13/18 09216244

Fill in this information to identify your case:

Debtor1 Givme }M'O © \C‘FT

First Name Middle Name Last Name

 

Debtor 2 ,
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: M“ Distrlct Of "R?yd `/e{'";
Case number l’ lg’ Mq$ '/‘e/SS

(lf known)

 

El check if this is an
amended filing

 

 

Official Form 106Dec
Declaration About an lndividual Debtor’s Schedules 12/1.=.

 

 

lf two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

- Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy fonns?

42/N0

n Yes. Name of person .Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
Signature (Official Form 119).

Under penalty of peq'ury, l declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

 

 

SignatureofDebtor1 Signatureof Debtor2 § \ ,,':»?»'-
l
l , ( [&
Date §A©% 950 Date
MM/ DD / YYYY MM/ DD/ YYYY

 

Official Form 106Dec Dec|aration About an individual Debtor’s Schedu|es

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Entered 12/13/18 09216244

' ill in this information to identify your case:

     

 

 

Debtor 1 wm me/ J mo

Firsl Name Middle Name Last Name
Debtor 2
(Spousel if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the:“'C/é§g/£N District Of NE& "B’p\-Lgl
Case number l f 1'(6`_ "" ML!/ "Q,$S

<lfknown) El check if this is an
amended filing

 

Official Form 107
Statement of Financial Affairs for lndividuals Fi|ing for Bankruptcy 04/16'

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach a separate sheet to this form. 0n the top of any additional pages, write your name and case
number (if known). Answer every question.

mGive Details About Your Marital Status and Where You Lived Before

 

, 1. What is your current marital status?

Mam'ed
n Not married

2. Durin the last 3 years, have you lived anywhere other than where you live now?
El

Yes. List all of the places you lived in the last 3 years, Do not include where you live now.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor`1: " ' Dates Debtor 1' 'Deb'tor _2: ' ' § Dates Debtor 2
' lived there ` ` lived there `

§ n Same as Debtor 1 cl Same as Debtor 1
§ 31 '@L ` 3 : § § ( From From :
§ Number § Street Number Street ' §
§ To ?@€5“5510 To ;
_ Wm:/i~l mr nasa
city state ziP code city~ state zlP code j
§ n Same as Debtor 1 cl Same as Debtor 1 §
: From - From
Number Street Number Street 1
§ TO ____ To ;‘
z

City State ZlP Code City State ZlP Code §

; 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
stat 'and territories include Arizona, California, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Vlhsccnsin.)

§ No
n Yes. Make sure you ill out Schedule H.' Your Codebtors (Official Form 106H).

x
§

 

Explain the Sources of Your lncome

Official Form 107 Statement of Financial Affairs for |ndividua|s Fi|ing for Bankruptcy page 1

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Entei’ed 12/13/18 09216244

Debtor1 CMUUMH{- j m’O ©A£’p`" n Case number iitr<nawn) 1 ’\ g/L[{é"q_c'l'{' P€“SS

Flrst Name Middle Name Last Name

 

4. Did you have any income from employment orfrom operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
lf you are liling a joint case and you have income that you receive together, list it only once under Debtor1.

El No
El Yes. Fiii in the detaiis.

 

 

 

Sources of income Gross income Sources of income Gross income
Check all that apply. _(before deductions and Check all that apply. (before deductions and
exclusions) exclusions)

From January1 of current year until m :V:%::'s°‘t°_msmissions' $ §t\ §§ ‘ §§ cl \;Vag:s' c‘t°_mmiss§°"s- $
the date you filed for bankruptcy: ° ’ 'p °nu es‘ 'ps
Operating a business n Operaling a business

, n Wages, commissions, m Wages, commissions,
For last calendar year. 91 q/ Onusesl tips $ ;LS_! I‘H bonuses|ups $

(January 1 to December 31»Y.YYY:O \' ) Operating a business cl Operating a business

 

n Wages,commissionsl Cl Wagesl commissions,
bonuses, tips bonuses, tips
(January 1 fO December 31,YYYY ) n Operating a business

For the calendar year before that:

n Operating a business

5. Did you receive any other income during this year or the two previous calendar years?
lnc|ude income regardless of whether that income is taxable. Examples of other income are alimony; child suppoit; Social Security,
unemployment and other public benth payments; pensions; rental income; interest; dividends; money collected from |awsuits; royalties; and
gambling and lottery winnings. lf you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately Do not include income that you listed in line 4.

El 0
Yes. Fill in the detai|s.

 

   

 

Sources of income Gross income from Sources of income Gross income from
Describe below. each Source Describe below. each S°WCE
(before deductions and (before deductions and
exclusions) exclusions)

_ 94 , q,o~<)
From January 1 of current year until _
the date you filed for bankruptcy:

For last calendar year:

(January1 to December 31,% H /
YYYY

 

 

For the calendar year before that: $ $
(January 1 to December 31, )
vYYY

 

 

 

thcial Form 107 Statement of Financial Affairs for individuals Fi|ing for Bankruptcy page 2

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Entered 12/13/18 09216244

 

Firs! Name Middle Name Last Name

Debtor1 CM"MMA/ J`m/O @/‘Q"‘A, Case number urknewm l '_\ g '_Lf" &¥_q tile-egg

 

List Certain Payments You Made Before You Filed for Bankruptcy
6. Are either Debtor1’s or Debtor 2’s debts primarily consumer debts?

No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101 (8) as
“incurred by an individual primarily for a personal, family, or household purpose.”

Durin the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* 0r more?
§ ,a{o Go to line 7.

m Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
total amount you'paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

n Yes. Debtor1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

n No. Go to line 7.

cl Yes. List below each creditorto whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

 

 

 

Dates of .To_tal amount paid Amount you still owe - Was this payment for...
payment ` ' . ' .

_ $ $ cl Mortgage

1 Creditors Name

§ a Car

‘ Number Street § § m Credit Card

n Loan repayment

 

n Suppliers or vendors

 

 

 

 

 

city scale ziP code Cl other
$ $ n Mortgage
Creditors Name
m Car
El Credit card'

Number Street
n Loan repayment

 

n Suppliers or vendors

 

 

 

 

 

 

. El other
§ City State ZlP Code
$ $ n Mortgage
Creditors Name
n Car
n Credit card

 

Number Street

 

cl Loan repayment

 

n Suppliers or vendors

§ n Other
§ City State ZlP Code

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcyl page 3

 

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Entered 12/13/18 09216244

Debtor1 C'H'um“nfn‘- J"{M/O ©'\/C~H, Case number (”kmwn) l " l§'*"-f-qu‘q L{_,_€,S{S

First Name Middle Name _ Last Name

 

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?

' insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. lnclude payments for domestic support obligations,
such as child support and alimony.

 

 

 

 

 

 

 

No
n Yes. List all payments to an insider.

§ Dates of Total amount Amount you still Reason for this payment
» payment paid owe
§ $ $

insiders Name
§_ Number Street

City State ZlP Code

$ $

 

lnsidefs Name

 

Number Street

 

 

City State ZlP Code

 

 

 

f 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider?
lnclude payments on debts guaranteed or cosigned by an insider.

gmc

n Yes. List all payments that beneiited an insider.

 

 

 

 

 

 

 

, Dates of Total amount Amount you still Reason for this payment
1 payment ‘pa'd owe lnclude creditor's name
. $ $
insiders Name
Number Street
City State ZlP Code
$ $

 

lnsidefs Name

 

Number Street

 

 

 

 

S¥af.§~ w `..Z.'F.’..CP.qei_.... _. t q

 

Official Form 107 Statement of Financial Affairs for lndividua|s Filing for Bankruptcy page 4

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Entered 12/13/18 09216244

Debtor1 CSH'\-) LWmH/- JM/O ®CW Case number (irknown) 1'/‘ §§ L,F€>qrq" LP‘QS£ -

First Name Middle Name Last Name

mldentify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any |awsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications
and c tract disputes.

 

 

 

 

 

 

 

 

 

 

 

 

 

No
,. Cl Yes. Fiii in the details
§ Nature of the case Court or agency Status of the case
§ .
Case title court Name n Pending 1
m On appeal
Number Street n Concluded
§ Case number § w _
§ city ‘ state ziP code
Case title C°un Name n Pending
n On appeal
,~ .’ Number street m Conc|uded
L . § .
Case number
City State ZlP Code

 

 

 

': 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed. garnished, attached, seized, or |evied?
" Check all that apply and Hll in the details below.

  

No. Go to line 11.
n Yes. Fill in the information below.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

j Describe the property Date Value of the property
t z
z
§ $
§ Creditors Name §
§
z .
: Number Street Explain what happened

n Property was repossessed.
§ Cl Property was foreclosed.

n Property was gamished.

city state ziP code El Property was attached, seized, or levied.
§ Describe the property . Date Value of the property
$

§ Creditors Name
Number Street
z; Explain what happened
§
n Property was repossessed.
El Property was foreclosed.
City State ZlP code § Property was gamished.

Property was attached, seized, or levied.

?

Official_Form 107 Statement of Financial Affairs for lndividuals Filing for Bankruptcy page 5

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Entered 12/13/18 09216244

Debtor 1

 

C’MW_” mar \M'O ©CC;N Case number (nkmwn) l' "' ' rgr cf éq> q`z£" _€"S`£

First Name Middle Name Last Name

 

5 11. Within 90 days before you filed for bankruptcy, did any 'creditor, including a bank or financial institution, set off any amounts from your
?ts or refuse to make a payment because you owed a debt?
No `

El Yes. Fill in the details

 

 

 

 

 

 

 

Describe the action the creditor took Date action Amount
' was taken
" Creditors Name 1
' §
Number Street § $

City State ZlP Code Last 4 digits of account number: XXXX-_

: 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

Yes

m List Certain Gifts and Contributions

" 13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

_ No
j cl Yes. Fill in the details for each gift.

 

 

 

 

 

 

 

 

 

 

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
_ $
Person to Whom You Gave the Glft
$
Number Street
City State ZlP Code
Person’s relationship to you
Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
. $
Person to Whom You Gave the Glft
$

 

 

Number Street

 

City State Z|P Code

Person’s relationship to you

 

 

 

Official Form 107 Statement of Financial Affairs for lndividuals Filing for Bankruptcy page 6

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Entered 12/13/18 09216244

First Name Middle Name Last Name

Debtor1 GHULW",W JM(O ©4' § Case number urkmwm l /[g'q/" G>M '-€»2;

/

f 14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

t
§
No
§

 

 

 

CharitYs Name

' .r _ - ' `
n Yes. Fill in the details for each gift or contribution. ' “ ‘
§ Gifls or contributions to charities Describe what you contributed ' ' Date you . Value_ `
that total more than $600 contributed
s

 

 

Number Street

 

 

 

City State ZlP Code

 

List Certain Losses

 

 

_t 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
‘ disaster, or gambling?_

El Yes. Fill in the detailsh

Describe the property you lost and Describe any insurance coverage for the loss ' l n Date of your Value of property

§ how the loss occurred v _ , _ . _ _ » loss lost
include the amount that insurance has pald. List pending ms_urance.~ . _

claims on line 33 of Schedule A/B: Property.

 

 

 

 

Part 7: List Certain Payments or Transfers

 

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
lnclude any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

m

El Yes. Fill in the details

 

 

 

 

Description and value of any property transferred - Date payment or Amount of payment
" - ' ': " _ transfer was ` '
Person Who Was Paid - made
Number Street $
$

 

 

 

City State ZlP Code

 

Emai| or website address

 

Person Who Made the Payment, if Not You

 

 

 

 

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 7

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Entered 12/13/18 09216244

Debtor 1 CWU“WJM 0 915"&/ Case number lirknown) l /f g f Cf éq'q’l_f nw

Fil'$f Name Middle Name LBS\ Name

 

 

 

Description and value of any property transferred Date payment or Amount of
transfer was made payment

 

 

Person Who Was Paid

 

Number Street

 

 

City State ZlP Code

 

Email or website address

 

Person Who Made the Payment, if Not You

 

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

,a/No

Cl Yes. Fill in the detaile.

 

 

 

 

Description and value of'any property transferred Date payment or Amount of payment
transfer was
made
Person Who Was Paid
Number Street $
$
1 City State Z|P Code

 

 

 

 

 

1 18. Within 2 years before you filed for bankruptcy, did you se|l, trade, or otherwise transfer any property to anyone, other than property
' transferred in the ordinary course of your business or financial affairs?
lnc|ude both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement.
No
n Yes. Fill in the details.

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

 

 

Person Who Received Transfer

 

Number Street

 

 

City State ZlP Code

 

Person’s relationship to you

, . , . .. M . ...,.A. .» _.M ,..… ~. .~. ,… ,. _ , ,_ ….A._e._… s rk...._y..m.\ … _ .. .. ».. .. .. . ,, __,r

 

Person Who Received Transfer

 

Number Street

 

 

 

 

 

City State ZlP Code

 

Person’s relationship to you

Official Form 107 Statement of Financial Affairs for lndividuals Filing for Bankruptcy page 8

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Entered 12/13/18 09216244

Debtor1 C-'HUWM/ J'M@ @4£~35(

 

First Name Middle Name

gmo

El Yes Fill in the details

Name of trust

LBS( Name

Case number (irknawnl

Description and value of the property transferred

i ’l£’“f? €»Et‘l/¢(:€/SS

19.Within 10 years before you E|ed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

Date transfer
was made

 

 

§

 

 

z

 

 

List Certain Financial Accounts, lnstruments, Safe Deposit Boxes, and Storage Units

ANO

El Yes Fill in the details `

 

Name of Financial institution

 

Number Street

 

 

 

 

 

 

El Yes Fill in the details

City State ZlP Code
Name of Financial institution

Number Street

City State ZlP Code

/saegunties, cash, or other valuables?
No

 

Name of Financial institution

Last 4 digits of account number Type of account or

Who else ha'd access to,it_?

mother

instrument

n Checking

n Savings

n Money market
n Brokerage

El checking

n Savings

m Money market
n Brokerage

n Other

D_escribe the contents

Date account was
iclosed, soid, moved,
or transferred

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in you`r'name, or for your benefit,
closed, so|d, moved, or transferred?
include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

Last balance before
closing or transfer

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for

Do you still
; have it?

 

 

 

Number Street

 

Name

 

Number Street

 

 

 

city state

Official Form 107

ZlP Code

City State ZlP Code

 

El No
cl Yes

 

 

Statement of Financial Affairs for individuals Filing for Bankruptcy

page 9

 

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Entered 12/13/18 09216244

Debtor1 GWMH/.JMO ©`£¢\’ Case number (irknewnl l c /I g¢tr é:f-C?i w

First Name Middle Name Last Name

 

 

225wa stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No

El Yes Fill in the details

 

 

 

Who else has or had access:to it? Describe the`contents ' Do you still
. have it?
cl No
Name of Storage Fac|lity Name n Ye$ §
Number Street Number Street ,

 

CltyState ZlP Code

 

 

City State ZlP Code

 

identify Property You Hold or Controi for Someone Else

23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for,
or h in trust for someone.
No
Cl Yes. Fill in the details

 

 

 

 

 

 

 

 

 

Where is the property?' ` ' ' l ' ' Describe the property ' Value ~ `
t
Owner’s Name $ §
n Street
Number Street
City Sfafe ZlP Code t
City State zlP code '

 

 

 

 

 

m Give Detalls About Environmentai information

_: For the purpose of Part 10, the following definitions apply:

s Environmental law means any federa|, state, or local statute or regulation concerning poliution, contamination, releases of
3 hazardous or toxic substances, wastes, or material into the air, |and, soi|, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or materiai.

Site means any |ocation, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous materia|, poliutant, contaminant, or similar tenn.

Report all notices, reieases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental |aw? `

,a/iio

El Yes Fill in the details

 

 

 

 

 

 

' Governmentai unit . . - Environmentai |aw, if you know it Date of notice
Name of site Govemmenta| unit
Number Street Number Street
§ z
City State ZlP Code

 

 

City State ZlP Code

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 10

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Entered 12/13/18 09216244

Debtor1 CWMmH/_ M/O @/\C-'P" Case number (irl<,iawn) 1 lt guy ‘{' éqol de 'Q/S"\`

First Name Middle Name Last Name

 

§ 25. Have you notified any governmental unit of any release of hazardous materia|?

/a’~°

El Yes Fill in the details

 

 

 

 

 

 

Governmental unit _ Environmentai |aw, if you know it Date of notice
§
§
_ . l
Name of site Govemmentai unit :
Number Street Number Street
City State Z|P Code

 

City State ZlP Code

26. Have you been a party in anyjudicia| or administrative proceeding under any environmental |aw? include settlements and orders.

Ja/Ne

 

    

 

 

 

El Yes Fill in the details l , -':, '_ 4
A¢¢’l‘"-’t °l' agency Nature of the case ll 7 :;;t:S °f the :
Case tide
. . \ z ¢

Court Name § n Pendmg
§ n On appeal _
Number Street § d n Concluded :
case number W___S_ta?_m_ ' "_

Give Detalls About Your Business or Connectlons to Any Business

' 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

cl A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

n A member of a limited liability company (LLC) or limited liability partnership (LLP) 1
n A partner in a partnership 5
n An officer, director, or managing executive of a corporation

n An owner of at least 5% of the voting or equity securities of a corporation

yaN/o.None of the above applies. Go to Part12.

cl Yes. Check all that apply above and fill in the details below forbeach business._ b 7 v _
Describe the nature of_ the business ' n Employer identification number
" ' ‘ l ' ' Do-not include S'ocial`Security number-or lTlN.

 

 

 

 

 

 

 

 

 

 

Business Name
ElN:__-_.________
Number Street _ . v
Name of accountant or.bookkeeper . _ Dates business existed
From To
C'*¥ . _. State ZlP Code l ........ .
Describe the nature of the business ` ` ' Employer identification number

 

Do not include Socia|~Security number or l11N.

 

Business Name

 

 

 

 

ElN:___-__________
Number Street ._. _ . t … . a , _ _ l
Name of accountant or bookkeeper - ,:' ' v Date_s business existed
From To

 

 

 

 

 

City State ZlP Code

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 11

CaS€ 1-18-46794-€88 DOC 8 Filed 12/12/18 Entered 12/13/18 09216244

Debtor 1

Cawwm\&" glva @4¢£1>¢

1 il gr’ L|:;e:l c?/Lf/"€§_\

Case number (;rknawn)

 

First Name Middle Name Last Name

 

Business Name

 

Number Street

 

 

City State ZlP Code

 

Employer ldentification number
Do not include Social Security number or lTlN.

Describe the nature of the business

 

 

 

 

ElN: _____-___________
Name of accountant or bookkeeper Dates business existed
From To

 

 

 

institutions, creditors, or other parties,

/Q/No
El Yes. Fill in the details below.

 

Name

 

Number Street

 

 

City State ZlP Code

m sign Bel°w

18 U.S.C. §§ 152, 1341, 1519, and 3571.

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? lnc|ude all financial

Date` issued

MMlDDIYYYY

.l have read the answers on this Statement of Financial Affairs and any attachments, and l declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

x (§QJ\§€\}'\-- `x

 

Signature of Debtor 1

m §§ ng \'J,al g/

E'-No

cl "Yes

o
n Yes. Name of person

Signature of Debtor 2

Date

Did you attach additional pages to Your Statement of Financial Affairs for lndividuals Filing for Bankruptcy (Official Form 107)?

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

. Attach the Bankruptcy Petition Preparefs Notice,

 

 

Declaration, and Signature (Official Form 119).

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 12

 

